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          ATTACHMENT

   TRANSCRIPT FEES
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                                       14365
             MHANY Management, Inc., Vic DeVita, Francine McCray, New York
         Communities for Change, Inc. v. County of Nassau, Incorporated Village of Garden
                            City, and Garden City Board of Trustees

                                                  Case No. 05-cv-2301 (ADS) (ARL)

                                                        TRANSCRIPT FEES
                        Type of                                                                                    Check
  Date                                                 Vendor                    Witness(es)           Amount
                        Service                                                                                     No.
1/26/2007           Deposition               Ellen Grauer Court Reporting   Frank Fish                $1,168.75     1292101
1/16/2008           Deposition               Severin & Associates           Ismene Speliotis          $526.00       1395638
1/16/2008           Deposition               Severin & Associates           Ann E. Sullivan           $532.00       1395639
1/31/2008           Deposition               Ellen Grauer Court Reporting   Frank Fish                $964.75       1399450
2/15/2008           Deposition               Ellen Grauer Court Reporting   Robert L. Schoelle, Jr.   $1,109.25     1403113
2/15/2008           Deposition               Ellen Grauer Court Reporting   Robert L. Schoelle, Jr.   $841.50       1403114
3/21/2008           Deposition               Ellen Grauer Court Reporting   Michael Filippon          $1,147.50     1413143
7/25/2008           Deposition               Ellen Grauer Court Reporting   Barbara K. Miller         $1,112.00     1443989
7/25/2008           Deposition               Ellen Grauer Court Reporting   Gerard P. Lundquist       $1,249.50     1443991
7/25/2008           Deposition               Ellen Grauer Court Reporting   Thomas R. Suozzi          $527.00       1443993
7/25/2008           Deposition               Ellen Grauer Court Reporting   Peter Bee                 $1,249.50     1443995
7/29/2008           Deposition               Ellen Grauer Court Reporting   Peter Negri               $612.00       1444710
12/29/2008          Deposition               Severin & Associates           Ann E. Sullivan           $408.00       1479282
2/23/2009           Deposition               Ellen Grauer Court Reporting   Patrick Cleary            $1,262.25    1490851
2/26/2009           Deposition               Severin & Associates           Peter Marcuse             $508.00      1491920
4/29/2009           Deposition                                              Victor DeVita &
                                             Severin & Associates                                     $590.00      1504441
                                                                            Francine McCray
9/28/2010           Deposition               Ellen Grauer Court Reporting   Carl Schroeter            $1,260.00    1647842
2/18/2011           Deposition               Severin & Associates           Diane Goins               $155.25      1632537
7/9/2013            Trial                    Mary Ann Steiger,
                                                                                                      $11,605.23   1805405
                    Transcripts              EDNY Court Reporter
7/13/2013           Trial                    Mary Ann Steiger, EDNY
                                                                                                      $7,321.86    1806512
                    Transcripts              Court Reporter
                                                                            Total:                    $34,150.34




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